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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                       GAINESVILLE DIVISION
JEFFERY FREELAND,                      :
                                       :
      Plaintiff,                       :
                                       :      Civil Action
v.                                     :      File No.: 2:18-CV-000169 RWS
                                       :
TRISTAR PRODUCTS, INC.,                :
                                       :
      Defendant.                       :

        JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

      COME NOW the Plaintiff Jeffery Freeland and Defendant Tristar Products,

Inc., by and through the undersigned counsel, and hereby stipulate to the dismissal

of Plaintiff’s claims against Defendant Tristar Products, Inc. in the above-styled

civil action with prejudice. The clerk is authorized to mark this action as

“Dismissed With Prejudice” as to the claims of Plaintiff against Tristar Products,

Inc. The parties shall bear their own respective fees and costs.

      This 12th day of December, 2019.

                                LAW OFFICES OF THOMAS P. WILLINGHAM PC

                                /s Mary Leah Miller
                                Thomas P. Willingham, Esq.
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                        Counsel for Tristar Products, Inc.




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                          CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing with the Clerk of the

Court using the CM/ECF system which will automatically send email notification

of such filing to all attorneys of record.



      This 12th day of December, 2019.

                                                 /s/ Mary Leah Miller
                                                 Thomas P. Willingham, Esq.
                                                 Mary Leah Miller, Esq.




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